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UNITED sTATES DISTRICT coURT ~- - D.c.
FOR THE wEsTERN DISTRICT oF TENNESSEE 05 AU(; ,9
WESTERN DIVISION N l»-' 37
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.,_) l,‘;' ;-_ `_ m
BOBBIE J. cARR, ) ”" Hl$
)
Plaintitr, )
)
v. ) No. 03-2569 - D/P
)
HoM:E TECH sERvICEs co., mc., )
MEMPHIS FINANCIAL sERvIcEs, I:NC., )
WoRLDWIDE MoRTGAGE )
coRPoRATIoN, NoVAsTAR MoRTGAGE, )
INC., ECONOMIC ADVANTAGES )
CoRPoRATIoN, EQUITY TITLE AND )
EscRoW Co. oF MEMPHIS, LLC, )
GREGG DREW, sTEvEN wlNKEL, )
EARNEST wELLs, sANDRA WELLS and )
NmA TowNEs, )
)
Defendaots. )

 

ORDER GRANTING UNOPPOSED MOTION OF
EQUITY TITLE AND ESCROW CO. OF MElV[PHIS, LLC, AND STEVE WINKEL
FOR EXTENSION OF T[lV[E TO DISCLOSE EXPERTS

 

Before the Court is the Unopposed M.otion of Equity Title and Escrow Co. of Memphis,
LLC, and Steve Winkel for Extension of Tirne to Disclose Experts. The Court finds that the
Motion is Well taken and should be granted.

IT IS, THEREFOR_E, ORDERED, ADIUDGED AND DECREED that the deadline for
disclosure of experts by Equity Title and Escrow Co. of Memphis, LLC, and Steve Winkel is
extended and that these Defendants Will not be required to disclose any experts until sixty (60)

days following Plaintiff’s disclosure of experts

 
 

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IT ls so oRDERED, this ['l day of AU§WJ'\", 2005.

(Mf§>&~

UNITED STATES DI-S:l`-IHGT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 379 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

